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                   IN THE UNITED STATES DISTRICT COURT
                       FOR THE DISTRICT OF COLUMBIA


UNITED STATES OF AMERICA                  )
                                          )
      v.                                  )      Case No. 1:21-cr-00729-RBW
                                          )
BRENT JOHN HOLDRIDGE                      )


      DEFENDANT’S CORRECTED MOTION FOR PAYMENT OF
      TRAVEL EXPENSES PURSUANT TO 18 U.S.C. § 4285


      Mr. Brent Holdridge, through counsel, hereby moves this Court to enter the

attached Order, which will authorize and direct the marshal to make travel

arrangements designed to bring him from Arcata, California, where he resides, to this

jurisdiction for his December 2, 2022, sentencing. Government counsel opposes this

motion.     Mr. Holdridge understands that it is the Court’s desire to hold this

sentencing in person and will appear, but in light of his present financial

circumstances and this resulting motion, would also be willing to appear by

videoconference.

      Mr. Holdridge has previously been determined to be financially indigent and

to qualify for court appointed counsel. As documented in the Presentence Report, he

makes less than one thousand dollars in social security disability income per month,

and his rent alone is eight hundred dollars. Although he planned to drive to the

Washington D.C. area and stay with a sister who lives in a neighboring state, he has

been unable to save enough money to afford the car repairs necessary to make the

journey. Pursuant to 18 U.S.C. § 4285, this Court may:

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             direct the United States marshal to arrange for [an indigent
             defendant’s] means of noncustodial transportation or
             furnish the fare for such transportation to the place where
             his appearance is required, and in addition may direct the
             United States marshal to furnish that person with an
             amount of money for subsistence expenses to his
             destination, not to exceed the amount authorized as a per
             diem allowance for travel under section 5702(a) of title 5,
             United States Code.

      Accordingly, we respectfully request that the Court enter the attached Order

directing the U.S. Marshal to make appropriate arrangements to facilitate his

appearance in court as indicated in the attached order.




              November 17, 2022                Respectfully submitted,

                                               JODI LINKER
                                               Federal Public Defender
                                               Northern District of California

                                                        /S
                                               GABRIELA BISCHOF
                                               Assistant Federal Public Defender




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